 

Case 6:21-cv-00055-NKM-RSB Document 36-3 Filed 12/17/21 Page 1lof3 Pageid#: 665

LIBERTY

UNIVERSITY

 

FALKIRK CENTER BUDGET ©
a
| Executive Director | $150, 000 1 | $150, 000°
| Center Administrator | $65,000 | | $65,000 |
iene Administrator =—=—=—S—« $40,000 4 $40,000
| Editing Administrator | $65,000 1 $65,000 ©
| Publicist & Media Relations Director, $120,000 1) $120,000 |

| LIBERTY UNIVERSITY EMPLOYEES TOTAL $440,000
Fellow Program Salaries $75,000 6
Fellow Program Travel $1,000 6 (@ 12 tiipaneary’ $72,000 |
Fellow Program Hotel | $150 6 (@ 24 nights/year) $21,600 |
Fellow Program Film Production $7,500 12 (monthly) $90,000 |
Gallen Praaran Film Travel | | 1,000 6(@10 trips/year) $60,000 |
‘Felow Program Merchandise $500 6 (@4shpmenisyeay -—~=«$ 12,000.
a Champion Program Teatiel en $1,200 | 3 (@ 4 trips/year) $14,400
| Champion Program Hotel a | $200 3 (@ 8 nights/ yaad $4,800 |
| Ambassador Program i Marchandige | $179 200 uat | $143,200 |

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DEFENDANT'S
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| Ambassador Program Travel

 

| Website Development

| Website Management

| Data Management

Publication Software

Publication Technology

Publication Print

Publication Mail

Events Hotel

Events Flights

Events Meals

Events Printed Collateral

Events Display Collateral

 

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LIBERTY

UNIVERSITY

| $1,000 | 200 (@ 2 trips/year) |

INFLUENCER SUBTOTAL

| $66,000 all

DIGITAL OPERATIONS SUBTOTAL

$75,000 - |

$70,000 el
$2 100,000 @4

mailings/year) |

$0.14 100,000 (@4

mailings/year)
PUBLICATION SUBTOTAL

$150 250 (@8 nights/ year)

$1,000 250 (@2 per year)
$250 300 le? per year -
$20,000 2 |
| $35,000 o |

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| $35,000 “|

| $34,000 =|

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$1,418,000

$35,000
$66,000

$34,000

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$135,000.

$74,000

$70,000

$800,000

$56,000 |

$1,000,000

$300,000 |

$500,000 |

$150,000 |

$40,000 ©

$70,000 |
 

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Ret

UNIVERSITY

| Events Misc. Handouts | $100 | 250 (@2 per year)
| A/V \via university?) $45,000 Z |
: Events Speakers $10,000 10 |

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EVENTS SUBTOTAL

PINNACLE, LLC MANAGEMENT FEE
FALKIRK CENTER TOTAL

$50,000

$90,000 |

$100,000 |

$1,300,000

$600,000

$4,893,000
